     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 1 of 25 PageID #:1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

Annabelle Yao, on behalf of herself                     )
and all others similarly situated,                      )
                                                        )   No.:
                     Plaintiffs,                        )
                                                        )
                v.                                      )
                                                        )   Judge:
Carillon Tower/Chicago LP;                              )
Forefront EB-5 Fund (ICT) LLC;                          )
Tizi LLC d/b/a Local Government                         )
       Regional Center of Illinois;                     )
TD Bank N.A.;                                           )
Symmetry Property Development II LLC;                   )
Fordham Real Estate LLC; and                            )
Jeffrey L. Laytin,                                      )
                   Defendants.                          )


     CLASS ACTION COMPLAINT FOR SECURITIES FRAUD, BREACH OF
             CONTRACT, AND BREACH OF FIDUCIARY DUTY

                                   Nature of the Case


   Plaintiff Annabelle Yao (“Yao”) is one of ninety Chinese investors who signed

investment documents totaling $49.5 million dollars to make a loan to “Carillon

Tower,” a to-be-realized-in-the-future 42-story tower at Superior and Wabash,

housing a 200-unit Hilton hotel, 154 apartment units, a 225-seat Gibson’s

Restaurant, and parking spaces for 154 vehicles. The Chinese invested in 2015, but

Carillon Towers was never built.        It was rejected by the Alderman after a

neighborhood outcry, and plans were never submitted to the Commissioner of
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 2 of 25 PageID #:2




Planning and Development. The Chinese investors never got their money back; in

fact, no one will tell them where it is.

   The structure of the deal was that the Chinese invested in a limited partnership

called Carillon Tower/Chicago LP, and each of them gave $550,000 to be held in

escrow by TD Bank NA (“TD”).           By agreement, TD was supposed to hold the

Chinese money away from the project developers (who are named as Defendants)

until the LP gave notice that “the Project plan has been formally submitted to the

Chicago Commissioner of Planning and Development.” This never happened, but

apparently TD released the $49.5 million anyway.

   This project is another EB-5 project, set up this time by a firm called Tizi LLC

(“Tizi”) operating as an EB-5 regional center. This Honorable Court should be

familiar with the EB-5 program since the largest EB-5 fraud to date occurred in this

District when the Chicago Convention Center raised $145 million from mostly

Chinese investors and was shut down by the SEC and the DOJ in a case filed in this

Court (Case No. 13-cv-982, Hon. Amy J. St. Eve). Recently in this Court, the SEC

charged another EB-5 developer with fraud and mismanagement of funds (Case No.

17-cv-04686, Hon. Joan B. Gottschall). In September of this year, the SEC fined a

Rock Island based EB-5 regional center for issuing 37 separate funds that consisted

of unregistered securities, and for dealing with unregistered broker-dealers (In the

Matter of CMB Export LLC, SEC Admin. Proc. 3-18825). A dispute with that EB-5

fund is currently proceeding in the Central District (Case No. 18-cv-4126). This is

the latest in a long string of EB-5 transactions that have led to litigation.



                                           2
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 3 of 25 PageID #:3




                                     The Parties


      1.     Plaintiff Ying Yao is a Chinese national residing in China.

      2.     All members of the putative Class of ninety investors are Chinese

citizens. None of the putative class members are residents of the State of Illinois.

      3.     Defendant Carillon Tower/Chicago LP is a New York limited

partnership (the “LP”).

      4.     Defendant Forefront EB-5 Fund (ICT) LLC is a New York limited

liability company acting as the general partner of the LP (the “GP”).

      5.     Defendant Tizi LLC is an Illinois limited liability company doing

business under the assumed name of Local Government Regional Center of Illinois

(the “Tizi”), a regional center authorized to help developers raise money from

foreigners under the EB-5 program.

      6.     Defendant TD Bank N.A. is a national banking association with a

principal place of business in Cherry Hill, New Jersey, and the escrow agent who,

under the terms of the Offering, was required to hold the investors’ money until

certain conditions were satisfied (“TD”).

      7.     Defendant Symmetry Property Development II LLC is a New York

limited liability company that, under the terms of the Offering, was to be the co-

developer of the Project (“Symmetry”).

      8.     Defendant Fordham Real Estate LLC is an Illinois limited liability

company that, under the terms of the Offering, was to be the co-developer (with

Symmetry) to develop the Project (“Fordham”).

                                            3
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 4 of 25 PageID #:4




      9.     Defendant Jeffrey L. Laytin is the managing member of the GP and

thereby had control of the GP. He is also listed in SEC filings as the manager of

Symmetry, the co-developer of the Project.


                               Jurisdiction and Venue


      10.    Jurisdiction is proper in federal court pursuant to 28 U.S.C. 1332(a)(2)

because this is a civil matter, in excess of the statutory minimum, between subjects

of a foreign state (The People’s Republic of China) and citizens and entities of the

United States.

      11.     Jurisdiction is also proper in federal court pursuant to 28 U.S.C. 1331

because this action involves questions of federal law, namely whether the

Defendants violated the Securities Exchange Act of 1934, 15 U.S.C. 77q(a) et seq.

      12.    Venue is proper in this district pursuant to 28 U.S.C. 1391(b)(1) and

(2) because two of the essential Defendants (Tizi and Fordham) are Illinois

companies, and the subject property is located in downtown Chicago, in this district.

      13.    The Defendants have all purposely availed themselves of this district

by setting up a development Project in this district.


                     Factual Allegations Common to All Counts

      14.    Plaintiff Yao and other class members were solicited and marketed by

Tizi and its overseas agents in China to invest in an EB-5 project that would offer

the promise of an eventual green card by investment in a project that generated 10

jobs per investor.


                                          4
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 5 of 25 PageID #:5




      15.    Plaintiff Yao and others were provided with brochures marked

“Forefront Capital” and “Forefront EB-5 Fund” which described an EB-5 investment

into a building that would supposedly be built in downtown Chicago.

      16.    Plaintiff Yao and others invested pursuant to a document styled

“Confidential Private Offering Memorandum dated January 15, 2015” (the “PPM”),

attached as Exhibit 1.

      17.    The vast majority of Plaintiffs cannot speak or read English, and those

that can cannot read or write beyond the elementary school level. As part of the

Offering, a copy and the PPM, translated into their native language (Mandarin

Chinese), was never provided to any plaintiff or any putative class member before

they were asked to sign the execution pages of the PPM.

      18.    Although the PPM stipulates that English controls and that investors

are responsible for hiring a translator, the cost of translating a document of this size

and complexity is prohibitive and the investor relies mainly on the fiduciary

obligation of the mangers to ensure that they will be treated fairly.

      19.     The PPM is an aggregate document in pdf format that contains a

number of interconnected documents: a subscription agreement in favor of the GP

with instructions for the Plaintiffs to wire the $550,000 into an escrow at TD

(“Subscription Agreement”); a limited partnership agreement whereby each

Plaintiff agrees to be a limited partner in the LP (“LP Agreement”); and an Escrow

Agreement between the LP and TD (“Escrow Agreement”). Copies of such




                                           5
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 6 of 25 PageID #:6




documents are contained within Exhibit 1 and referred to herein as the “Investment

Documents.”

       20.    Plaintiff Yao’s payment of $550,000 was acknowledged in a

confirmation letter dated September 17, 2015, from the Vice President of TD to

Jeffrey Laytin as manager of the GP and the LP, attached as Exhibit 2. Upon

information and belief, a similar letter was used to acknowledge the same

investment by each putative class member.

       21.    Page 3 of the PPM provides that Symmetry and Fordham will work

together in the “acquisition, construction, and development of the real property

located at the corner of Superior Street and Wabash Avenue, in Chicago, Cook

County, Illinois to be known as the Carillon Tower, a 42 story tower housing a 200-

room hotel operating under the Canopy by Hilton brand, 154 luxury apartment

units, a 225 seat restaurant operated by Gibson’s Restaurant Group, and parking

space for 154 vehicles (collectively, the “Project”).

       22.    The “Project” was meant to be over 40 stories, over 700 feet tall, with a

Hilton Hotel, apartment units, a Gibson’s Restaurant, and parking. That is what

the investors were sold.

       23.    The PPM at page 8 provides that each investor agrees to place

$550,000 of their own funds into an escrow account with TD.          TD was then to

release $50,000 of each investor’s escrow funds to the LP immediately as an

“Administrative Fee” for putting the deal together, and would hold the remaining




                                            6
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 7 of 25 PageID #:7




$500,000 as a “Capital Contribution” until the “Holdback Trigger” had been

satisfied.

       24.    The Holdback Trigger is defined as follows on page 8 of the PPM and

similarly throughout the Investment Documents:

       “* USCIS has approved the Form I-526 Petition of one Subscriber for a Unit

       in the Offering; and

       * The Partnership has provided evidence that the Project plan has been

       formally submitted to the Chicago Commissioner of Planning and

       Development.”

       25.    The second condition of the Holdback Trigger is that the LP must

provide evidence of formally submitting the Project plan to the Chicago

Commissioner. This condition has never been met and can never be met as the

Project has been shut down permanently due to, in part, unresolvable community

objections.

       26.    Exhibit B to the Subscription Agreement is styled “Summary of Escrow

Procedures” and it provides at Section G (pg. 161) that the Holdback Trigger

requires that “the Project plan has been formally submitted to the Chicago

Commissioner of Planning and Development.”

       27.    The Escrow Agreement itself (page 165) provides that TD will release

the funds from escrow only upon notification from the LP that the Holdback Trigger

has been satisfied.




                                         7
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 8 of 25 PageID #:8




      28.    Further, the Escrow Agreement provides that if the Offering is

cancelled, the Administrative Fee of $50,000 must be returned to investors.

      29.    The trigger for the entire Project – the entire basis on which the

Defendants took $550,000 from the Plaintiffs -- was that a formal plan was going to

be submitted to the Commissioner of Planning and Development.

      30.    On information and belief, an employee and/or agent of TD was

informed that the Holdback Trigger for the Project had been satisfied.

      31.    On information and belief, an employee and/or agent of the LP was

informed that the Holdback Trigger for the Project had been satisfied.

      32.    Upon information and belief, an employee and/or agent of the GP was

informed that the Holdback Trigger for the Project had been satisfied.

      33.    Upon information and belief, an employee and/or agent of Tizi was

informed that the Holdback Trigger for the Project had been satisfied.

      34.    Upon information and belief, an employee and/or agent of Symmetry

was informed that the Holdback Trigger for the Project had been satisfied.

      35.    Upon information and belief, an employee and/or agent of Fordham

was informed that the Holdback Trigger for the Project had been satisfied.

      36.    Upon information and belief, TD has released to the LP the $50,000

Administrative Fee from each investor (totaling $4.5 million) even though there is

nothing to “administer” because there is no Project, and even though the Escrow

Agreement provides that if the Holdback Trigger is not satisfied, the $50,000 must

be returned to each investor.



                                         8
     Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 9 of 25 PageID #:9




      37.    On information and belief, TD has released some and/or all of the

$500,000 capital funds invested by the Plaintiff and each putative class member to

the LP.

      38.    Upon information and belief, the GP has transferred some and/or all of

the $500,000 capital funds invested by the Plaintiff and each of the putative class

members from the LP fund to defendants Symmetry and/or Fordham.

      39.    The Offering documents create a loop of self-dealing: Defendant Laytin,

as manager of the GP, can cause the LP to notify TD that the Holdback Trigger has

been met, thereby causing the release of the Capital Contributions money to

Symmetry, which is also managed by Laytin.

      40.    The Project plan was not submitted to the City Commissioner.

      41.    A prerequisite for submitting a Plan to the City Commissioner was

that the local Alderman (in this case, the 42nd Ward Alderman Brendan Reilly) first

has to provide support and approval of the Project plan on behalf of his constituency.

      42.    Alderman Brendan Reilly rejected the Project plan and did not provide

the necessary approval for the Holdback Trigger, based in part on strong

community objections to the Project related to, amongst other things, exacerbation

of traffic congestion and disruption of the pickup/drop-off for a nearby school.

      43.    On information and belief, Alderman Reilly has never approved the

Carillon Tower Project, or any similar structure formal submission of a plan,

relating to the Project as required to satisfy the Holdback Trigger.




                                           9
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 10 of 25 PageID #:10




      44.   This investment was made by Plaintiff and each of the putative class

members in 2015.     The PPM says at page 5 that “The construction period is

expected to take 24 months and is projected to be completed in October 2017,

assuming construction commences in October 2015.”

      45.   The condition precedent for the release of capital contribution funds

held in escrow by TD to the Project GP never happened.

      46.   “The Project” as defined under the PPM does not exist and will never

exist in the form described in the PPM.

      47.   The refund provisions of the Investment Documents are triggered and

the investment funds must be returned in full to the Plaintiff and putative class

members.

      48.   The PPM at page 24 (page 32 of the pdf) states that the LP is supposed

to make a loan to Symmetry to fund the Project after the Holdback Trigger is met:

“The first advance of the Project Loan will fund after the Holdback Trigger is met.”

(emphasis added).

      49.   Pursuant to the terms of the PPM, if the Holdback Trigger was never

satisfied, TD would not have the authority to release investor funds to the LP or GP.

      50.   Pursuant to the terms of the PPM, if the Holdback Trigger is not

satisfied, the GP has no authority to fund any loan or otherwise transfer investor

funds out of the LP fund.




                                          10
      Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 11 of 25 PageID #:11




        51.   Plaintiff has attempted to obtain her $550,000 investment funds from

the    defendants   amicably,   both    via    phone    requests   and   formal   written

communications, to no avail.

        52.   Each putative class member investor has lost $550,000, plus accrued

interest, costs, and counsel fees, as a result of the wrongful release and

disbursement of the TD escrow account funds by Defendants and each of them.

                                    Class Action Allegations

        53.   Plaintiffs re-allege and incorporate by reference the allegations set

forth in each of the preceding paragraphs of this Complaint.

        54.   This action is maintainable as a class action under Rule 23 of the

Federal Rules of Civil Procedure.

        55.   Class Definition. The class definition shall be:

       All foreign investors who paid $550,000 into the EB-5 fund relating to
   Carillon Tower/Chicago LP and whose money was placed in the escrow account
   for that Project and who have not received a full refund of their $550,000
   investment.

        56.   All members of the Class were and are similarly affected and deceived

by the failure of the unlicensed brokers to register.

        57.   Numerosity. Plaintiff’s counsel believes that the number of Plaintiffs is

90, who are residents of China, making joinder impracticable. The LP and its GP

have records of such persons (their contact, banking and immigration application

information), such records will allow the putative class members be notified on the

pendency of this action by Court-approved dissemination methods such as US Mail,

electronic mail, Internet postings, and publication and, if the plaintiffs are the

                                              11
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 12 of 25 PageID #:12




prevailing parties in this action, will also facilitate the transfer of the settlement

and/or judgment proceeds to the Plaintiff and putative class members.

      58.    Common Questions of Law and Fact Predominate. Common questions

of law and fact exist as to all members of the class and predominate over any

questions that affect only individual members of the class.                   These common

questions of law and fact include:

             i)     Whether Plaintiffs are entitled to a return of

             their money under the PPM and the Investment

             Documents; and

             ii)    Whether Defendant’s have violated any

             federal or state securities laws by failing to comply

             with the provisions of the Investment Documents;

             and

             iii)   Whether    (and        to        what     extent)   the

             Defendants have committed federal or state law

             offenses relating to transfers of money; and

             iv)    Whether    one    or    more        Defendants      has

             breached    one   or    more        of     the    Investment

             Documents; and

             v)     Whether any of the Defendants and/or other

             individuals aided and abetted the commission of a




                                                12
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 13 of 25 PageID #:13




            fraud or the conversion of the investment funds;

            and

            vi)    Whether any of the Defendants (or others)

            owed a fiduciary duty to the plaintiffs and class

            members; and

            vii)   Whether any of the Defendants (or others)

            breached their fiduciary duty to plaintiffs and the

            class members by way of material omissions and/or

            misrepresentations associated with the Offering

            and/or the release of the Holdback Trigger.

      59.   Typicality.   The facts surrounding the investment by Plaintiff are

typical of what happened with the other investors/putative class members, as they

arose from the same offering and course of conduct by the Defendants.

      60.   The Defendants operated under a scheme and practice to wrongfully

and/or fraudulently deprive the Plaintiff and the putative class of their investment

monies.

      61.   Adequacy.     The Plaintiff has no conflict of interest or unusual fact

pattern that would render her an inadequate class representative.         Plaintiff’s

counsel has conducted numerous class actions in this district and other federal

courts.

      62.   Predominance and Superiority of Class Action. Given the commonality

of the issues affecting each investor, which easily predominate over any minor



                                        13
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 14 of 25 PageID #:14




differences, the class action is a superior method of deciding this matter versus

case-by-case adjudication. As the recovery requested by each investor is small, and

is mostly a return of their own money, judicial efficiency favors the class action as a

method.

                                        COUNT I
                         (against Laytin, GP, LP, and Symmetry)
                            15 U.S.C. 78j (17 CFR. 240.10b-5)
                             Federal Exchange Act Violation

      63.    Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

      64.    Section 10b of the Exchange Act (15 U.S.C. 78j) provides that it shall

be unlawful for any person, directly or indirectly, to use any manipulative or

deceptive device or contrivance in contravention of such rules and regulations as the

Commission may prescribe for the protection of investors.

      65.    In furtherance of Rule 10(b), the Commission enacted Rule 10b-5 (17

CFR 240.10b-5) which makes clear that it is unlawful to (a) employ any device,

scheme, or artifice to defraud, (b) to make any untrue statement of material fact, or

(c) to engage in any act, practice or course of business which operates as a fraud or

deceit on any person, in connection with the purchase and sale of a security.

      66.    A “material fact” under Rule 10b-5 is any fact that a reasonable

investor would find important in making a decision whether to invest.

      67.    Tizi – as the regional center structuring the deal - and the LP (through

the GP) caused the PPM and Investor Documents to be drafted and disseminated to




                                          14
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 15 of 25 PageID #:15




the Plaintiffs, and caused the Escrow Agreement to be entered into between the LP

and TD.

       68.    The Investment Documents worked a fraud and deceit on the Plaintiffs

because their money was moved out of escrow despite the Investment Documents

stating that if the Holdback Trigger is not satisfied, the money will come back in

full to the investors.

       69.    Therefore, the Investment documents were violated and this worked a

fraud on the Plaintiffs.

       70.    This is a material breach of the Investment Documents.

       71.    The Plaintiffs relied upon the Investment Documents in making their

investment.

       72.    The promises made in the Investment Documents were not fulfilled by

the Defendants, causing specific and quantifiable harm to the Plaintiffs, and the

Defendants are jointly and severally liable for damages caused.

       73.    The LP and its GP had a duty to inform the Plaintiffs that the

Holdback Trigger had not been met and that the schedule set forth in the PPM had

become stale and misleading. Their failure to make this disclosure is an omission to

state a material fact in connection with a security.

       74.    The Defendants acted with scienter, in full knowledge of the fact that

no formal Project plan had been submitted as required.

       75.    The Defendants had a duty to prominently disclose potentially outcome

determinative risks and material facts to the success or failure of the Project.



                                          15
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 16 of 25 PageID #:16




       76.    Defendants failed to prominently disclose the fact that, based on long

standing policy and procedure for all development in the City of Chicago, and the

Defendants knowledge of such policy and procedure, the Project required

Alderman/Ward approval prior to the submission of a Project plan to the City

Commissioner of Development and Planning, and that the submission of any Project

plan to the City Commissioner without such Alderman/Ward approval would result

in rejection by the Commissioner and failure of the Project.

       77.    The loss causation here is easily quantifiable: each investor has lost

$550,000 plus interest, and has incurred translation fees, costs, and attorney fees to

obtain recovery.

       WHEREFORE, the Plaintiffs demand a full refund of all money subscribed to

the LP and to any Defendant, with an award of interest, costs and attorney fees.



                                          COUNT II
                           (against Laytin, GP, LP, and Symmetry)
                                      815 ILCS 5/8 et seq.
                               Illinois Securities Act Violation


       78.    Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

       79.    Section 2.4 of the Illinois Securities Act defines “Controlling Person” as

follows: “In case of unincorporated issuers, "controlling person" means any person

offering or selling a security, or group of persons acting in concert in the offer or sale

of a security, who directly or indirectly controls the activities of the issuer.



                                            16
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 17 of 25 PageID #:17




      80.    Under this definition, all of the Defendants listed in this Count are

Controlling Persons of the LP which issued the securities.

      81.    Sections 12F and 12G of the Illinois Securities Act track the Federal

Rule 10b-5 and creates liability for any persons who make any misstatements of

material fact or omissions of material fact. 815 ILCS 5/12.

      82.    Section 13 of the Illinois Securities Act requires payment by

Controlling Persons of the amount lost plus 10% per annum in interest for violation

of the anti-fraud provision.

      83.    The securities in this case are the LP interests offered in collaboration

by the Defendants.

      84.    The securities were issued pursuant to arrangements by Tizi, an

Illinois company, with respect to a project in Illinois, to be built by a co-developer in

Illinois. There is a strong nexus with Illinois.

      85.    If the Illinois Securities Act does not apply because the GP and LP are

based in New York, then the applicable law will be the legendary New York Martin

Act which is even stronger than the Illinois law. Plaintiffs assert a violation of the

Illinois Securities Act, but if the Defendants insist on the Martin Act, then Plaintiffs

will be happy to accommodate them in an amended pleading.

      WHEREFORE, the Plaintiffs demand a full refund of all money subscribed to

the LP and to any Defendant, with an award of 10% annual interest, costs and

attorney fees.




                                           17
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 18 of 25 PageID #:18




                                     Count III
                           (against Laytin, GP and LP)
                        Breach of Contract of LP Agreement

       86.   Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

       87.   The LP Agreement defines “Project” as Carillon Tower, which never

came to exist.

       88.   Appendix 1 of the LP Agreement stipulates that the LP shall request

funds to be released by TD as escrow agent only if the Holdback Trigger has been

satisfied.

       89.   The Holdback Trigger was not satisfied.

       90.   TD was holding onto $49.5 million of investor funds ($550,000 times 90

investors) as evidenced by the acknowledgement as Exhibit 2, given for each

investor.

       91.   The LP, acting through the GP and Laytin, breached the LP

Agreement by wrongfully – with scienter and full knowledge of falsity – informing

TD that the Holdback Trigger had been satisfied.

       92.   This wrongful action by the LP, in violation of the LP Agreement and

the Investment Documents, caused quantifiable detriment to the Plaintiffs by

having their funds dispersed to an idle Project.

       93.   As a result of this breach, Plaintiffs’ funds were unlawfully converted

by the GP and LP.

       WHEREFORE, the Plaintiffs demand a full refund of all money subscribed to

                                          18
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 19 of 25 PageID #:19




the LP and to any Defendant, with an award of costs and attorney fees.


                                    Count IV
                                  (against TD)
                     Breach of Contract of Escrow Agreement

      94.   Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

      95.   The LP was party to that certain Escrow Agreement with TD included

in the Investment Documents.

      96.   The Plaintiffs were not a nominal party to the Escrow Agreement, but

they became a party to it by virtue of signing the Subscription Agreement, which

contained escrow instructions which were signed by each investor, directing that

the investment o $550,000 be sent to TD Wealth Management for Defendant TD

Bank NA.

      97.   The Escrow Agreement – though nominally between TD and the LP –

was only possible because the Plaintiffs (as limited partners of the LP) put their

money into escrow with TD in the first place.

      98.   The Escrow Agreement has a section called “Action Upon Achievement

of Holdback Trigger” which stipulates that TD will release the investor Capital

Contributions (aggregate of $45 million) only upon notification from the LP that the

Holdback Trigger has been satisfied.

      99.   Further, the Escrow Agreement has a section called “Action Upon

Termination or Cancellation of the Offering” which provides that if the Offering is

cancelled, the Administrative Fee of $50,000 must be returned to investors.

                                         19
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 20 of 25 PageID #:20




       100.   In compliance with the Escrow Agreement, Plaintiff Yao and other

investors sent $550,000 to TD, as evidenced by the letter attached as Exhibit 2.

       101.   The Escrow Agreement and the LP Agreement stipulates that the LP

may request funds to be released by TD as escrow agent only if the Holdback

Trigger has been satisfied.

       102.   The Holdback Trigger was not satisfied.

       103.   TD was holding onto $49.5 million of investor funds ($550,000 times 90

investors) as evidenced by the acknowledgement as Exhibit 2, given for each

investor.

       104.   TD breached the Escrow Agreement by wrongfully releasing the

Plaintiffs’ funds even though the condition specified for such release had not been

satisfied.

       105.   TD had a duty prior to release of the investors’ funds to demand

adequate documentation showing that a Project plan had been formally submitted

to the Commissioner of Planning and Development for the City of Chicago.

       106.   TD negligently released the funds from escrow without reviewing the

requisite documents and without doing proper due diligence, falling short of its

contractual obligations and a basic standard of care.

       107.   TD’s failure to observe a basic standard of care in its duty to investors

caused damage to the investors both immediately and proximately, in the

quantifiable amount of $49 million.

       108.   The Plaintiffs were a direct participant in the TD-LP contract because



                                          20
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 21 of 25 PageID #:21




the Subscription Agreement required them to submit investment funds subject to

the TD-LP Agreement, making them a third party beneficiary of such contract, and

certainly within the zone of persons to whom TD owed a duty of professional

conduct, which they breached.

      109.   As a result of TD’s negligent breach, Plaintiffs’ funds were unlawfully

converted.

      WHEREFORE, the Plaintiffs demand a full refund of all money subscribed to

the LP and to any Defendant, with an award of costs and attorney fees.


                                      Count V
                              (against all Defendants)
                                       Fraud

      110.   Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

      111.   Tizi – with full knowledge and cooperation of the GP, LP, Symmetry,a

and Fordham – marketed the Project to Chinese investors through Kaisheng

Emigration Company (English name “Cansine” and their web site which is in

Chinese is at www.cansine.com)

      112.   The web site claims the Project (referred to in English as the Hilton) is

“100% safe.” See Exhibit 4. (last visited November 22, 2018).

      113.   The web site implies that the Project is active, alive, and ongoing. It

omits any statement about the failure to submit a Project plan to the City of

Chicago Commissioner of Planning and Development.




                                          21
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 22 of 25 PageID #:22




      114.    The web site says that each investor has full third party insurance to

obtain a return of their money if they are not eligible for a green card due to events

beyond their control.

      115.    The web site is a public proclamation that benefits each of the

Defendants.

      116.    It contains the material misstatement that the Project is 100% safe,

which is impossible for any investment, and which would disqualify the Project for

EB-5 since the program requires that investors place capital “at risk.”

      117.    The web site fails to disclose material facts about the Project being

slowed and dead.

      118.    The Plaintiff and others relied on the web page since they speak

Chinese and the web page is in Chinese.

      119.    This reliance caused them to believe that the Project was still active.

This caused damage for failure to take action to obtain recovery.

      120.    The failure to inform investors of the truth was a ploy to drain their

assets and to get more time to slap something together at the last minute as an

excuse for not returning the money.

      121.    The benefit of this fraud inured to all defendants: it gave them money

and time, and violated the fiduciary duties owed to the investors.

      122.    Defendants are jointly and severally liable for this fraud on the

investors.




                                          22
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 23 of 25 PageID #:23




       WHEREFORE, the Plaintiffs demand a full refund of all money subscribed to

the LP and to any Defendant, with an award of interest, costs and attorney fees.



                                      Count VI
                           (against Laytin, the GP and LP)
                              Breach of Fiduciary Duty

       123.   Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

       124.   The GP has a fiduciary duty to keep the limited partners fully

informed of all material developments in the Project.

       125.   This duty is separate and distinct from their contractual duty to

limited partners.

       126.   The GP and Laytin (as controlling person of the GP) knew as early as

April 2017 that the Project had been denied.

       127.   This created a duty to inform limited partners and to make clear their

remedy to obtain a return of investment due to failure of condition precedent for the

project.

       128.   The duties violated include the duty of care, the duty of loyalty (no self-

dealing) and the duty of good faith and fair dealing.

       129.   Plaintiff Yao and investors have suffered for the failure of the GP, the

LP, and Laytin to comply with their fiduciary duties.

       WHEREFORE, the Plaintiffs demand a full refund of all money subscribed to

the LP and to any Defendant, with an award of interest, costs and attorney fees.



                                           23
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 24 of 25 PageID #:24




                                    Count VII
                             (against all Defendants)
                     Appointment of Third-Party Administrator


      130.   Plaintiffs re-allege and reincorporate, as though fully set forth herein,

each and every allegation above.

      131.   The practical question remains how the money in this case will be

rightfully returned to the Chinese investors in full, accounting for interest, fees,

costs, and other expenses.

      132.   The Chicago Convention Center Eb-5 lawsuit heard in this Court by

Justice St. Eve is instructive.

      133.   That case involved a massive fraud whereby investors put their money

into a project that did not actually exist – it was a fake, no shovel was ever put into

the ground. The SEC brought suit under Rule 10b-5 and they won disgorgement of

the investment back to the Chinese investors. The practical question for the Court

became how to get the money back to the investors.

      134.   As a remedy, Justice St. Eve appointed a neutral third party to

conduct an accounting, receive the disgorged funds and the fines, to make

deductions for fees and costs, and to make sure that each investor got his or her

proportional share. See “Order to Appoint a Distribution Agent,” SEC v. A Chicago

Convention Center LLC, 13-cv-00982 (January 31, 2018).

      135.   The same process can be used in this case.

      136.   At present, the Plaintiffs do not have any idea where their money is

                                          24
    Case: 1:18-cv-07865 Document #: 1 Filed: 11/28/18 Page 25 of 25 PageID #:25




located. They are in need of an accounting from the LP, and a disgorgement or fine

that can be placed with a neutral third party for accounting.

       137.   The remedy of constructive trust is recognized in this Court and in

Illinois

for situations where one party wrongfully holds the property of another.

       WHEREFORE, the Plaintiffs demand a (i) full refund of all money subscribed

to the LP and to any Defendant, with an award of interest, costs and attorney fees,

and (ii) the Court appointment of an administrator / trustee / distribution agent to

collect all refunded money (by way of disgorgement or damages) and to perform a

complete accounting of the escrow fund.



Dated:        November 28, 2018



                                       Respectfully Submitted,

                                       /s/ Glen J. Dunn, Jr.



Glen J. Dunn, Jr.                              Douglas Litowitz
Glen J. Dunn & Associates, Ltd.                Attorney at Law
221 N. LaSalle Street                          413 Locust Place
Suite 1414                                     Deerfield, IL 60015
Chicago, Illinois 60601                        (312) 622-2848
(312) 880-1010                                 Litowitz@gmail.com
gdunn@gjdlaw.com




                                          25
